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            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE THIRD CIRCUIT


NOVO NORDISK INC., et al.,

                   Plaintiffs-Appellants,

      v.                                                       No. 24-2510

DOROTHY A. FINK, M.D., Acting Secretary of
Health & Human Services, et al.,

                   Defendants-Appellees.


  RESPONSE OF THE UNITED STATES TO MOTION TO EXPEDITE

      The government respectfully submits this response to Novo

Nordisk’s Motion to Expedite Oral Argument and Decision. While we do

not believe the present circumstances warrant expedited resolution, we

defer to the Court’s discretion in determining the timing of the argument

and decision in this case.

      Novo’s request for expedition was prompted by the government’s

recent selection of 15 additional drugs for negotiation, including Novo’s

drug semaglutide. Novo objects to the selection of semaglutide for

negotiation but errs in contending that this announcement calls for

expedited resolution of this case. Any negotiated prices for these newly
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selected drugs will take effect no earlier than January 1, 2027, nearly two

years from now. CMS, HHS Announces 15 Additional Drugs Selected for

Medicare Drug Price Negotiations in Continued Effort to Lower Prescription

Drug Costs for Seniors (Jan. 17, 2025), https://perma.cc/8FG8-SS6S.

Moreover, Novo’s argument that CMS erred in selecting different forms of

semaglutide based on aggregate Medicare spending is unreviewable and

lacking in merit for the reasons stated in the government’s brief. Novo’s

arguments do not present the kind of exigent or extraordinary

circumstances that would justify expedited consideration.

      Although we believe that this appeal does not require expedited

treatment and is appropriately suited for resolution on the Court’s

standard schedule, we defer to the Court’s judgment as to whether

expedition is warranted.
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                                      Respectfully submitted,

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                                      /s/ Catherine Padhi
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FEBRURARY 2025
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                    CERTIFICATE OF COMPLIANCE

     Pursuant to Fed. R. App. P. 32(g), I hereby certify this motion

complies with the requirements of Fed. R. App. P. 27(d)(1)(E) because it has

been prepared in 14-point Book Antiqua, a proportionally spaced font, and

that it complies with the type-volume limitation of Fed. R. App. P.

27(d)(2)(A) because it contains 230 words, according to the count of

Microsoft Word.


                                         /s/ Catherine Padhi
                                         Catherine Padhi
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                       CERTIFICATE OF SERVICE

     I hereby certify that on February 3, 2025, I electronically filed the

foregoing with the U.S. Court of Appeals using the appellate CM/ECF

system. Participants in the case are registered CM/ECF users, and service

will be accomplished by the appellate CM/ECF system.


                                          /s/ Catherine Padhi
                                          Catherine Padhi
